

ORDER

PER CURIAM.
AND NOW, this 6th day of June, 2005, Frederick T. Haase, Jr., a member of the *1207Bar of this Commonwealth, having been transferred to disability inactive status in the State of Delaware by Order of the Supreme Court of Delaware dated October 20, 2004, upon consideration of the Defenses and Objections and response thereto, it is hereby
ORDERED that the status of Frederick T. Haase, Jr., be immediately modified from inactive status pursuant to Rule 219, Pa.R.D.E., to inactive status pursuant to Rule 301(c), Pa.R.D.E., for an indefinite period and until further Order of the Court. Respondent shall comply with all the provisions of Rule 217, Pa.R.D.E.
